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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–27–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 RYAN HATFIELD,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on March 4, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Ryan Hatfield’s guilty plea


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after Hatfield appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered a plea of guilty to the charge of conspiring to advertise child

pornography in violation of 18 U.S.C. §§ 2251(d) and (e), as set forth in the

Indictment. The Defendant admits to the forfeiture allegation.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

282), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Ryan Hatfield’s motion to change plea

(Doc. 179) is GRANTED and Ryan Hatfield is adjudged guilty as charged in the

Indictment.

      DATED this 19th day of March, 2015.




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